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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                  (EASTERN DIVISION)

    In re:
                                                             Chapter 11
    NESV ICE, LLC, et al. 1,                                 Case No. 21-11226

             Debtors.                                        Jointly Administered


                  AFFIDAVIT OF STUART SILBERBERG IN SUPPORT OF
                       FIRST DAY MOTIONS AND APPLICATIONS

             Pursuant to 28 U.S.C. § 1746, I, Stuart Silberberg, hereby declare as follows:

             1.     I am the sole manager of each of the Debtors (as defined below). In

my capacity as manager, I am familiar with the Debtors’ day-to-day operations and

financial affairs. As described below, Debtor NESV Ice, LLC owns and operates an

ice-skating facility and related facilities and real estate, while the remaining

Debtors own portions of the 138.3-acre site that the Debtors plan to develop into a

multi-sport complex destination and develop various other real estate projects.

             2.     Except as otherwise indicated, all statements in this affidavit are

based upon (a) my knowledge as manager of each of the Debtors, (b) my review of

relevant documents, including the Debtors’ books and records, (c) information

supplied to me by other employees of the Debtors’ and/or the Debtors’ professionals,

and (d) my opinion based on my experience and knowledge of the Debtors’


1 The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax
identification number, are as follows: NESV Ice, LLC (1262), NESV Swim, LLC (5919), NESV
Tennis, LLC (6937), NESV Land East, LLC (4138), NESV Field, LLC (5539), NESV Hotel, LLC
(9151), and NESV Land, LLC (2353).
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operations and financial affairs. If called upon to testify, I would testify to the facts

set forth in this affidavit.

          3.   On August 26, 2021 (the "Petition Date"), each of the Debtors filed a

 voluntary petition for relief under chapter 11 of title 11 of the United States Code

 (the "Bankruptcy Code").

          4.   To enable the Debtors to minimize the adverse effects of the

 commencement of their Chapter 11 cases on their businesses, the Debtors have

 requested various types of relief in certain so-called “first-day” applications and

 motions (collectively, the “First Day Motions"). The First Day Motions seek relief

 directed toward continuing business operations and providing services to

 customers without interruption or undue disruption.

          5.   I submit this affidavit in support of the First Day Motions. Part I of

 this affidavit provides an overview of the Debtors and their operations. Part II of

 this affidavit provides an overview of the Debtors’ capital structure. Part III of this

 affidavit describes the primary causes of the Debtors’ financial challenges and

 their Chapter 11 filings. Part IV of this affidavit describes the First Day Motions.

I.        OVERVIEW OF THE DEBTORS

          6.    The Debtors were organized in contemplation of the development,

 construction and operation of the New England Sports Village (the “Village”), a

 planned athletic, entertainment, and hospitality complex located on a 138.3-acre

 site in Attleboro, Massachusetts. Non-debtor Ajax 5Cap NESV, LLC (“Ajax 5Cap”),

 of which I am the sole manager, owns 100% of the membership interests of each
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Debtor. Each Debtor owns a parcel of real property. Only Debtor NESV Ice, LLC is

operating a business or owns any assets other than real property.

      7.      The Village project has three phases which would occupy

approximately 50 acres. Phase one, which saw the construction of a premier ice

facility owned and operated by NESV Ice, LLC, is complete. Phase two provides for

the construction of a field house and a 150-room hotel catering to visitors and

corporate events. The planned field house provides for indoor and outdoor fields,

and will cater to sports such as soccer, lacrosse, field hockey, baseball, and

gymnastics, and offer other recreational and food and beverage amenities. Phase

three contemplates the construction of a tennis, aquatics, and wellness center. The

Village also has plans for an outdoor adventure course with ropes and zip-lining.

The remaining acreage on the other side of the property is intended to be

developed, subject to zoning variances with the City of Attleboro, into various other

real estate projects including but not limited to warehouse/distribution, various

forms of residential and various elements of a Continuing Care Retirement

Community (“CCRC”), and is a valuable asset and potential source of funding for

the project and the reorganization.

  a. NESV Ice, LLC

      8.      NESV Ice, LLC (“Ice”) is a Delaware limited liability company that

was organized on January 29, 2016 and registered to do business in Massachusetts

on February 23, 2016. Ice has a principal place of business of 1395 Commerce Way,

Attleboro, MA 02703, and owns the 12.4 acre parcel of real property shown on the
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site plan attached as Exhibit A. Ice also owns and operates the ice-skating rink

(the “Rink”) that forms the heart of the current operations of the Village. Ice has

twenty-six (26) employees, four (4) of whom are full-time, the remainder part-time,

and approximately three (3) independent contractors.

      9.      The Rink is approximately 110,000 square feet with two full sheet

NHL ice surfaces, and a three-quarter sheet studio rink. The Rink has additional

features that complement its status as a premiere ice facility, and increase Ice’s

revenue opportunities, including a full restaurant (approximately 3,000 square

feet), indoor recreation space (approximately 6,500 square feet), retail space

(approximately 5,000 square feet) that includes a coffee shop, training facility,

physical therapy tenant and boxing studio, and an ice level function area

(approximately 2,500 square feet) that hosts Ice’s Rapid Hockey Academy skills

center. The Rapid Hockey Academy skills center utilizes, among other things, a

two-person wide skating instruction treadmill that Ice purchased for

approximately $200,000.

      10.     Ice grants various third parties non-exclusive licenses to use and

enjoy the Rink, primarily for ice hockey games, practices, and figure skating, in

exchange for fees. Those licenses generate approximately 35% of Ice’s revenue and

are based on longer-term agreements with third-party sports managers. The

remaining 65% of Ice’s revenues come from hockey and figure skating

programming (i.e., activities, teams and events planned by rink management),

lease revenues, private rentals and short-term sponsorships.
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       11.     I believe that the combined value of the Rink and Ice’s land totals

approximately $20,880,000 using a cost method, and approximately $18,000,000 if

valuing the various components of the Rink (e.g., full ice sheets, three-quarter ice

sheet, retail space, skills center). The latter result is derived by valuing the full

size rinks at $5,000,000 per sheet (which in my experience is the high end of rink

comparables, and is appropriate for the Rink given its age, seating capacity and

amenities), the three-quarter sheet at $3,750,000, 15,000 square feet of retail space

at $150 per square foot (realized and estimated annual net rents of $20 per square

foot) or $1,875,000 and the skills center at $2,000,000 (based on estimated revenue

generating capability of $250,000 or more annually). Alternatively, management

estimates that the rink will generate approximately $1.5 million or more in net

operating income annually in the next few years, which at a 10-12 times multiple

results in a sales value of approximately $15 – 18 million. The most recent tax

assessment by the City of Attleboro valued Ice’s property at $15,997,700.

  b. NESV Swim, LLC

     12.     NESV Swim, LLC (“Swim”) is a Delaware limited liability company

that was organized on January 29, 2016, and registered to do business in

Massachusetts on February 23, 2016. Swim has a principal place of business of

1395 Commerce Way, Attleboro, MA 02703, and owns the 7.1 acre parcel of real

property shown on Exhibit A. The most recent tax assessment by the City of

Attleboro valued Swim’s property at $722,800.
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   c. NESV Tennis, LLC

         13.   NESV Tennis, LLC (“Tennis”) is a Delaware limited liability company

that was organized on January 29, 2016, and registered to do business in

Massachusetts on February 23, 2016. Tennis has a principal place of business of

1395 Commerce Way, Attleboro, MA 02703, and owns the 21.5 acre parcel of real

property shown on Exhibit A. The most recent tax assessment by the City of

Attleboro valued Tennis’s property at $1,172,200.

   d. NESV Field, LLC

         14.   NESV Field, LLC (“Field”) is a Delaware limited liability company that

was organized on January 29, 2016, and registered to do business in Massachusetts

on February 23, 2016. Field has a principal place of business of 1395 Commerce

Way, Attleboro, MA 02703, and owns the 19.6 acre parcel of real property shown on

Exhibit A. The most recent tax assessment by the City of Attleboro valued Field’s

property at $1,111,900. I believe that the development of a $40 million as of right

field house on this parcel would value the land at approximately 10% of the overall

development cost (a conservative figure) of approximately $4,000,000 ($200,000 per

acre).

   e. NESV Hotel, LLC

         15.   NESV Hotel, LLC (“Hotel”) is a Delaware limited liability company

that was organized on January 29, 2016, and registered to do business in

Massachusetts on February 23, 2016. Hotel has a principal place of business of 1395

Commerce Way, Attleboro, MA 02703, and owns the 9.2 acre parcel of real property
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shown on Exhibit A. The most recent tax assessment by the City of Attleboro valued

Hotel’s property at $788,400. Despite its name, this site is more likely to be

developed into a self-storage facility or an ancillary sports facility, both as of right.

As a self-storage facility, it could likely support a 120,000 square foot building

worth between $20 – 30 per buildable square foot or $2.4 – 3.6 million.

      16.     Hotel, Tennis, Field, and Swim’s long-term business plans include the

construction and operation of fields and athletic facilities (field house, tennis courts,

aquatics center and/or wellness center) and a hotel. The hotel would offer 150-

rooms, primarily to accommodate families who visit the Village facilities, and to

host corporate events. Management believes that the hotel would have a land value

of approximately $17,500 per key or $2.6 million. However, it is more likely that

the hotel would be developed on a contiguous parcel that is not currently owned by

NESV.

     f. NESV Land, LLC

      17.     NESV Land, LLC (“Land”) is a Delaware limited liability company that

was organized on January 29, 2016, and registered to do business in Massachusetts

on February 23, 2016. Land has a principal place of business of 1395 Commerce

Way, Attleboro, MA 02703. Land owns the 34.6 acre parcel of real property located

shown on Exhibit A. The most recent tax assessment by the City of Attleboro valued

Land’s property at $1,581,900. I believe that this parcel could support between 250

– 300 residential units on approximately 15 acres at an estimated value of $15,000

per unit for a value range of $3,000,000 – $4,500,000, with land remaining for
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potential townhouse development.

   g. NESV Land East, LLC

      18.    NESV Land East, LLC (“Land East”) is a Delaware limited liability

company that was organized and registered to do business in Massachusetts on

October 5, 2018. Land East has a principal office at 28 Marjory Lane, Scarsdale,

NY, 10583, and a local address of 1395 Commerce Way, Attleboro, MA 02703. Land

East owns the 33.9 acre parcel of real property shown on Exhibit A. The most recent

tax assessment by the City of Attleboro valued Land East’s property at $489,100.

      19.    Subject to zoning approvals, this parcel may be developed into a

250,000 to 300,000 square foot bulk warehouse distribution. Investment sale

professionals specializing in land sales at Jones Lang LaSalle, a nationally

recognized real estate service firm, value the land at approximately $40 per

buildable square foot providing a potential value range of $10 - 12 million.

Alternatively, the Land and Land East parcels could be combined into an overall

residential and CCRC facility that could accommodate an estimated 600 – 800 units

at an average value of $25,000 each, creating a value range of $15 – 20 million.

      20.    Each of Ice, Swim, Tennis, Field, Hotel, Land and Land East is a

“Debtor” and collectively shall be referred to herein as the “Debtors.”

      21.    The Debtors are in the process of obtaining formal appraisals of their

properties. I believe that the aggregate value of the Debtors’ combined real property

(including the Rink) is no less than $18,000,000 and likely to be well in excess of

$20,000,000, and that those values are increasing. The most recent tax assessments
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of those properties valued them in the aggregate at $21,864,000.

 II.   CAPITAL STRUCTURE

       A.     HarborOne Secured Debt

       22.    On or about June 24, 2016, Swim, Field, Hotel, Tennis, and Land

 entered into a certain Loan Agreement (Term Loan) (the “Term Loan Agreement”)

 with HarborOne Bank (“HarborOne”) in the principal amount of $1,960,000 (the

 “Term Loan”). Ice, Land East, Ajax 5Cap and I guarantied certain obligations

 under the Term Loan Agreement. The Term Loan is purportedly secured by

 mortgages on the Debtors’ real estate and liens on the Debtors’ personal property.

       23.    As of the Petition Date, the Debtors believe that $1,960,000 in

 principal and $234,379 in interest has accrued under the Term Loan Agreement.

       24.    On or about June 24, 2016, Ice entered into a certain Construction

 Loan Agreement (Construction Loan) (the “Construction Loan Agreement,” and

 together with the Term Loan Agreement, the “Loan Agreements”) with HarborOne

 in the principal amount of $9,506,000.00 (the ”Construction Loan” and together

 with the Term Loan, the “Loans”). Swim, Tennis, Land East, Field, Hotel, Land,

 Ajax 5Cap, and I guarantied certain obligations under the Construction Loan

 Agreement. The Construction Loan is purportedly secured by mortgages on the

 Debtors’ real estate and liens on the Debtors’ personal property.

       25.    As of the Petition Date, the Debtors believe that $9,284,035 in

 principal and $433,323 in interest has accrued under the Construction Loan

 Agreement.
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          26.     In December 2020, SHS ACK, LLC (“SHS”) purportedly acquired

    HarborOne’s rights in connection with the Loans.

           B.   Other Secured Claims

          27.     On or about November 21, 2019, Debtors Ice, Field, Swim, Tennis,

    Hotel and Land also granted mortgages on their respective real property to secure

    up to $7,500,000 of Ajax 5Cap’s obligations pursuant to a certain Loan Agreement

    between Ajax 5Cap and Ashcroft Sullivan Sports Village Lender, LLC (the “EB-5

    Lender”), whereby the EB-5 Lender agreed to loan up to $20,000,000 to Ajax 5Cap

    to support the development of the Village. Upon information and belief, the EB-5

    Lender’s rights are subordinate to HarborOne’s rights arising from the Loan

    Agreements.

          28.     CSM (defined below) asserts a statutory lien on Ice’s real property

    pursuant to Chapter 54 of the Massachusetts General Laws arising from alleged

    work performed by CSM. The Debtors dispute CSM’s claims, which are the subject

    of pending litigation. See infra, ¶¶ 32-33.

          C.       Trade Debt and Other Obligations

          29.     As discussed further below, as of the Petition Date, Ice owed

    approximately $7,000 in unpaid wages and benefits that I understand are entitled

    to priority treatment pursuant to Section 507(a)(4) of the Bankruptcy Code. 2 I

    understand that any taxes associated with those unpaid wages are entitled to


2     Contemporaneously with the filing of this Affidavit, the Debtors have filed a
motion requesting to pay unpaid pre-petition wages and benefits to the extent such
claims are entitled to priority under the Bankruptcy Code.
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priority treatment pursuant to Section 507(a)(8) of the Bankruptcy Code.

       30.    Swim, Tennis, Land East, Field, Hotel, and Land have no monetary

obligations other than those arising from the Loans and real property taxes owed

to the City of Attleboro, which are in arrears due to cash shortfalls caused by the

Covid-19 pandemic.

       31.   As of the Petition Date, the aggregate non-priority, non-insider

unsecured claims against the Debtors totaled approximately $1,800,000, excluding

interest, the vast majority of which consists of legal fees owed to one outside law

firm and arrearages for electricity service that accrued primarily due to the

pandemic.

III.   EVENTS PRECIPITATING THE BANKRUPTCY FILING

       32.    Since 2017, Ice has been embroiled in litigation (the “CSM

Litigation”) with the contractor which built the Rink, Construction Source

Management, LLC (“CSM”), and its principal, John C. Kelly (“Kelly”), arising from

the project. As a precursor to and component of the CSM Litigation, CSM has

asserted statutory lien rights in Ice’s real property, claiming that Ice (among

others) owes it more than $5,000,000. Ice and its co-defendants have denied CSM’s

and Kelly’s claims and asserted counterclaims against CSM and Kelly. The CSM

Litigation is presently scheduled for trial in Bristol County Superior Court in

November 2021.

       33.    The pressures of the CSM Litigation, along with certain project

delays, cost overruns, and operational difficulties in the Rink’s early stages, gave
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rise to liquidity shortfalls for the Debtors and made it difficult to attract additional

investment.

       34.    The Debtors’ liquidity was also hampered by an extraordinarily high

2017 tax assessment by the City of Attleboro which, while eventually lowered after

an appeal process, put additional pressure on the Debtors’ cash flow, further

constraining Ice’s operations and the Debtors’ ability to attract additional

financing.

       35.    In April 2019, HarborOne issued a notice of default to the Debtors

arising from, among other things, certain non-monetary defaults under the

Construction Loan Agreement. HarborOne agreed to forbear from taking action in

connection with those defaults, and agreed not to charge default interest under the

Construction Loan Agreement at that time.

       36.    In August 2019, HarborOne issued a notice of default to the Debtors

arising from, among other things, the failure to repay the Term Loan in full at

maturity. HarborOne nonetheless agreed to continue to accept periodic payments

in accordance with the Term Loan Agreement and not to charge default interest

under that agreement.

       37.    Early 2020 saw Ice’s programming and revenue continue to improve,

as Ice attracted new teams, hockey programs, and revenue sources. In mid-March

of 2020, however, COVID-19 caused operations to shut down. Additionally, I

contracted COVID-19, was hospitalized, and was unwell for most of March and

April of 2020.
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          38.   At least initially, and informally, HarborOne entered into a period of

forbearance on the Construction Loan and the Term Loan during the pandemic.

          39.   The Rink partially reopened in July 2020, but struggled to operate

and enforce adherence to state protocols and restrictions. Moreover, approximately

35% of Ice’s customers, who are from Rhode Island, were unable to cross state

borders to travel to the Rink due to COVID-19 restrictions.

          40.   In July 2020, the Debtor and HarborOne partially restructured the

Debtors’ obligations under the Loan Agreements. In exchange for continued

forbearance, HarborOne received, among other things, a mortgage on Land East’s

real property.

          41.   Although Ice secured some funding through the Payroll Protection

Program, that financing was not nearly sufficient to materially defray operating

losses.

          42.   To increase revenues, Ice intensified its marketing efforts and

continued to attract new teams and hockey programs to the rink, including

Johnson & Wales men’s and women’s programs and area teams including the

Generals, the Hitmen, the Pioneers and others.

          43.   Ice also improved its facilities by, among other things: (i) building

men’s and women’s locker rooms to NCAA standards and relocating the APT

training facility to a more suitable space with increased visibility; (ii) converting a

function room and former APT space into an athletic space to be utilized for

floorball, pickleball, birthdays parties, and other activities; (iii) converting the
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former family entertainment center into a classroom/study area for the Generals

Academy; (iv) converting the former pro shop into a boxing studio operated under

the Title 9 brand; and (v) leasing space on Ice’s roof to a solar power tenant to

accommodate the installation of solar panels. Ice anticipates these efforts will

result in approximately $450,000 in additional annual operating profits.

       44.   As a result of management’s efforts, and despite the Rink being closed

for approximately four months and operating with restrictions during the rest of

the year, Ice’s revenues in 2020 were only approximately $1.3 million lower than

management’s forecasts.

       45.   Additionally, the Debtors during 2020 entered into discussions with

Amazon about the potentially purchase of a portion of the site. Those talks,

however, stalled due to the cloud on title presented by CSM’s asserted mechanic’s

lien and the related lawsuit.

       46.   On December 22, 2020, unbeknownst to the Debtors, HarborOne

allegedly sold the Loans to SHS. The Debtors were not informed of this sale until

they received a letter from SHS on January 6, 2021. Upon information and belief,

SHS is a Massachusetts limited liability company, which, according to certificate of

organization, was formed to “own, manage and develop real estate.”

       47.   Also on December 22, 2020, the same day it sold the Loans to SHS,

HarborOne delivered to the Debtors additional notices of default by which

HarborOne began to charge default interest, retroactive to March 1, 2017, and

accelerated all amounts allegedly due under the Loans. In so doing, HarborOne
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(and subsequently SHS) ostensibly added approximately $6,000,000 in additional

interest to the Debtors’ payment obligations under the Loans.

      48.    Despite COVID-19, the first quarter of 2021 was Ice’s most successful

ever. The second quarter was similarly bolstered by end of season hockey

tournaments and other events in May and June. This activity signaled an upward

trajectory for Ice’s business and revenues.

      49.    Shortly after acquiring the Loans, however, SHS stated its intention

to foreclose on the Debtors’ properties. This intention was made public in April

2021 via a foreclosure notice posted prematurely on the website of a real property

auctioneer, before the Debtors had received notice of any foreclosure, undermining

the confidence of Ice’s customers and employees. Several hockey tournaments and

other programming events were canceled as a result of the premature

announcement. Needless to say, the foreclosure process has significantly hampered

the business.

      50.    The Debtors’ continued efforts to raise capital with potential investors

have been hampered by the CSM lawsuit and the complexity of the Debtors’

capital structure. Those same issues similarly prevent further progression of talks

with multiple parties who expressed interest in purchasing portions of the Debtors’

land for industrial and residential development.

      51.    On or about April 21, 2021, SHS noticed a foreclosure sale of the

Debtors’ 138.3 acre site. Initially scheduled for May 7, 2021, the foreclosure sale

was postponed to June 30, 2021, and then again to August 27, 2021.
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       52. As of the filing date, the business is performing significantly better

than it has previously. As noted above, new teams, programming, an academy,

floor sports and other revenue-enhancing activities will add significant new

revenue. Much of this new activity will start in September 2021. Despite

continually fighting uphill against operational start-up issues, Covid and the

perpetual threat of foreclosure, NESV Ice is poised to post its best-ever quarterly

and annual results beginning in the fall of 2021.

       53.    Nonetheless, because of the pending foreclosures, the Debtors were

forced to file these Chapter 11 cases to preserve the value of their assets and to

reorganize their balance sheets and operations.

IV.    SUMMARY OF FIRST DAY MOTIONS

       A.     Cash Collateral Motion

       54.    In the Motion of the Debtor for an Order Under Sections 105, 361,

 362 and 363 of the Bankruptcy Court (A) Authorizing Use of Cash Collateral; (B)

 Granting Adequate Protection; (C) Scheduling a Final Hearing Pursuant to

 Bankruptcy Rule 4001; and (D) Granting Related Relief (the “Cash Collateral

 Motion”), Ice seeks to use SHS’s alleged Cash Collateral (as defined in the Cash

 Collateral Motion). The Cash Collateral Motion requests the entry of an order

 authorizing the emergency use of the Cash Collateral to prevent immediate and

 irreparable harm to the Debtors’ operations pending the scheduling of a hearing on

 the continued use of the Cash Collateral.

       55.    As a consequence of the Chapter 11 filings, Ice is unable to continue
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operating their business without using the Cash Collateral. Without the use of the

Cash Collateral, Ice lacks the ability to pay expenses essential to the operations of

its business. Without the use of the Cash Collateral, the continued operation of

Ice’s business would not be possible, resulting in serious and irreparable harm to

the Debtors’ estates.

      56.     Attached to the Cash Collateral Motion is a proposed cash collateral

budget (the “Budget”) that shows that Ice has adequate cash to operate its

business and pay expenses that are incurred during the Budget Period (as defined

in the Cash Collateral Motion).

      57.     The Cash Collateral Motion describes and details the adequate

protection that Ice propose to grant to SHS ACK. LLC, namely the granting of

replacement liens, if the Court determines that SHS is entitled to adequate

protection.

      58.     The purpose of the use of the Cash Collateral is to preserve the going

concern value of the Debtors’ operations, as well as to protect creditors and other

persons dependent on the Debtors’ continued operations.

      B.      Motion To Pay Prepetition Wages

      49.     In the Motion of Debtor NESV Ice, LLC for Authority to Pay Wages,

Compensation, Employee Benefits, and other Related Obligations. (the

“Prepetition Wages Motion”), Ice seeks entry of an Order authorizing, but not

directing, Ice to pay its employees’ prepetition wages, salaries, compensation,

reimbursable expenses, and employee benefits. Ice also requests authority to pay
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taxes associated with such wages and salaries, and to pay benefit claims accruing

in favor of its employees.

      50.    Ice requests this relief in order to ensure that the prepetition payroll

is paid and honored in the ordinary course of business. Ice’s business operations

will suffer disruption due to the loss of employees and/or harm to employee morale

if Ice is unable to pay the prepetition wages in the ordinary course of business.

Harm to Ice’s business operations will harm the Debtors’ creditors. A potential loss

(or delay in receipt) of earned wages or salaries would work a hardship on the

employees.

      51.    Under standard payroll procedures, Ice – the only operating Debtor –

processes its payroll bi-weekly, on Mondays. Ice’s employees are paid in arrears

through the day preceding the processing date. Ice most recently paid payroll on

Monday, August 23, 2021 for services during the period from August 9, 2021 to

August 22, 2021. Ice seeks authority to pay employees their prepetition wages,

salaries, compensation, expenses and benefits earned from August 23, 2021 until

the Petition Date, and to continue to honor such obligations in the ordinary course

of business. The total amount of such obligations is approximately $7,000.

       52.    In addition, Ice requests authority to pay: (i) amounts withheld from

employees’ wages and Ice’s matching payment obligations to taxing authorities

(the “Payroll Taxes”), and (ii) amounts owed for health and dental benefits (the

“Employee Benefits”) attributable to the prepetition period of August 23, 2021

until the Petition Date. The amount attributable to the prepetition period for the
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outstanding Payroll Taxes and Employee Benefits is approximately $5,000 in the

aggregate.

      53.    No employee will receive payment or benefit as a result of the

Prepetition Wages Motion exceeding the $13,650 cap established by Sections

507(b)(4) & (5) of the Bankruptcy Code.

      C.     Utilities Motion

      54.    In the Motion of Debtor NESV Ice, LLC for Entry of Interim and

Final Orders, Pursuant to Sections 105(a) and 366 of the Bankruptcy Code, (I)

Prohibiting Utility Companies from Altering, Refusing, or Discontinuing Utility

Services, (II) Deeming Utility Companies Adequately Assured of Future

Performance, and (III) Establishing Procedures for Determining Adequate

Assurance of Payment (the “Utilities Motion”), Ice seeks entry of an order deeming

utilities adequately assured of payment from Ice by Ice’s conformance with the

procedures proposed in the Utilities Motion.

      55.    Pursuant to the Utilities Motion, Ice proposes to establish a new,

segregated account containing an amount equal to Ice’s estimate of two weeks of

aggregate utility payments.

      56.    If a Utility Company is not satisfied with the assurance of future

payment provided by Ice, the Utility Company must serve a written request (a

“Request”) upon proposed counsel to the Debtors, setting forth certain information

described in the Utilities Motion. Ice may then either agree with the new terms or

ask the Court for a further hearing to resolve the dispute.
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     E.       Joint Administration

        57.    In the Motion by Debtors for Joint Administration of Chapter 11

Cases (the “Joint Administration Motion”), the Debtors requested an order for joint

administration of their Chapter 11 cases for administrative purposes only. The

Debtors are affiliated entities, and joint administration would dispense with

unnecessary duplication and filing, and ease the administrative burden on all

interested parties and the Court. The Court granted this Motion on August 27,

2021.




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     I declare under the penalties of perjury that the foregoing is true and correct
to the best of my knowledge and belief.


                                       Stuart Silberberg

  Executed this 30th day of August, 2021
